            Case 1:22-cv-01457-TNM Document 35 Filed 08/15/24 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                           )
CALIFORNIA COMMUNITIES AGAINST
                                           )
TOXICS, et al.,
                                           )
                                           )
                              Plaintiffs,
                                           )
                                           )
        v.                                                   No. 1:22-cv-1457 - TNM
                                           )
                                           )
MICHAEL S. REGAN, in his official capacity
                                           )
as Administrator of the U.S. Environmental
                                           )
Protection Agency,
                                           )
                                           )
                              Defendant.
                                           )

JOINT NOTICE OF STIPULATED EXTENSION OF CONSENT DECREE DEADLINES

       Plaintiffs California Communities Against Toxics, Clean Air Council, Clean Power Lake

County, Delaware Concerned Residents for Environmental Justice, Greater-Birmingham

Alliance to Stop Pollution, Kentucky Resources Council, New Castle Prevention Coalition,

United Congregations of Metro-East, and Sierra Club (collectively “Plaintiffs”) and Defendant

Michael S. Regan, Administrator of the U.S. Environmental Protection Agency (“EPA”), hereby

enter into the following stipulation extending the deadlines in the Consent Decree entered by the

Court in this case on December 19, 2023 as follows. See ECF No. 29 ¶5 (“[t]he deadlines

established by this Consent Decree may be extended (a) by written stipulation of the Parties with

notice to the Court, or (b) by the Court upon motion of EPA for good cause shown”).

       1.       The deadline in Paragraph 2(a) of the Consent Decree for EPA to sign a proposed

rule containing all revisions “necessary (taking into account developments in practices,

processes, and control technologies)” to Subpart VVVVVV under section 112(d)(6) of the Act,

42 U.S.C. § 7412(d)(6) is extended from November 13, 2024 to January 15, 2025.




                                                1
            Case 1:22-cv-01457-TNM Document 35 Filed 08/15/24 Page 2 of 3




       2.       The deadline in Paragraph 2(b) of the Consent Decree for EPA to sign a final rule

promulgating all revisions “necessary (taking into account developments in practices, processes,

and control technologies)” to Subpart VVVVVV under section 112(d)(6) of the Act, 42 U.S.C.

§ 7412(d)(6) is extended from September 17, 2025 to January 15, 2026.

       This is the first stipulated extension of the deadlines noted above.


 DATED: August 15, 2024                         Respectfully submitted,

                                                /s/_Kathleen Riley (with permission)
                                                Kathleen Riley (D.C. Bar No. 1618580)
                                                Adam Kron (D.C. Bar No. 992135)
                                                Earthjustice
                                                1001 G Street NW, Suite 1000
                                                Washington, D.C. 20001
                                                (202) 667-4500
                                                kriley@earthjustice.org
                                                akron@earthjustice.org

                                                Counsel for Plaintiffs


                                                /s/ _Andrew D. Knudsen
                                                Andrew D. Knudsen (D.C. Bar No. 1019697)
                                                U.S. Department of Justice
                                                Environmental Defense Section
                                                P.O. Box 7611
                                                Washington, DC 20044
                                                (202) 353-7466
                                                andrew.knudsen@usdoj.gov
                                                Counsel for Defendant




                                                 2
         Case 1:22-cv-01457-TNM Document 35 Filed 08/15/24 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I certify that on August 15, 2024, a copy of the foregoing was served by electronic means

on all counsel of record by the Court’s CM/ECF system.

                                                   /s/ Andrew D. Knudsen
                                                   Andrew D. Knudsen




                                               3
